                     UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN
                       NORTHERN DIVISION - BAY CITY

In re:                                                 Case No. 16-21964-dob

Angela Jane-Howey Simpson,                             Chapter 7

         Debtor.                                       Hon. Daniel S. Opperman
                                                /



                      STIPULATION FOR ENTRY
             OF ORDER CONVERTING CASE TO A CHAPTER 13

         This is the stipulation of the United States Trustee and the Debtor, through

their respective counsel, for the entry of an Order a converting this case to a case

under Chapter 13. A copy of the proposed Order is attached.

         DANIEL M. McDERMOTT                  KANE, FUNK & POCH, PC
         UNITED STATES TRUSTEE
         Region 9



By:      /s/ Jill M. Gies                     /s/ Cristie A. VanMassenhove
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         [P56345]                             [P72704]

Dated: February 23, 2017




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                                                 /


                   ORDER CONVERTING CASE TO CHAPTER 13
         This case came before the Court on the motion of the United States Trustee
for an order dismissing this case under § 707(b)(3) of the Bankruptcy Code,
(Docket #13, the “Motion”). A Response was filed (Docket #17) and a hearing is
scheduled for February 23, 2017. The Debtor filed a Motion to Convert Case to
Chapter 13 on February 22, 2017 (Docket #22). The United States Trustee and the
Debtor have agreed to resolve the Motion to Dismiss through the Debtor's
voluntary conversion of this case to Chapter 13. The parties filed a stipulation for
entry of an order converting this case. Accordingly,
         IT IS ORDERED that the Motion is deemed resolved by this Order.
         IT IS FURTHER ORDERED that this case is converted to a case under
Chapter 13, effective immediately.
         IT IS FURTHER ORDERED that the Debtor shall pay the applicable
conversion fee within 7 days of entry of this Order.




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